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                     IN THE UNITED STATES DISTRICT COURT                                                                 /
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                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA                          \ _ _.....   ;;-
                                                                                                       ,,...~·




RODGER KRAMER and COLLEEN                            CIVIL ACTION
BRUSIUS, h/w
                                                                                                                   J         ~~
      Plaintiffs,                                                        ' '                                                 ~,




                                                     Case No.   ~~~~~~~~-




        v.

WAYNE SEIBER, PRATT                                  JURY TRIAL DEMAN~D
INDUSTRIES, INC.,' CORRUGATED
LOGISTICS, LLC,~IMPRESS                                                        .· ILfED
PACKAGING, INC.,'PRATT TRIAD                                               ocr21
                                                                            kA \ ;: 2011
PACKAGING, LLC, RM ESOP, INC.,
                                                                      8.J.'. rE~~IC
JOHN CHEESEMAN TRUCKING, INC.,                                            --..ul\-~~ Cler/(
CHEESEMAN, LLC and ZUMSTEIN, INC.                                              "I'\-   'P. C!er/-
       Defendants.                                                             'J              I\




 NOTICE OF REMOVAL OF DEFENDANT WAYNE SEIBER AND CONSENT OF ALL
             DEFENDANTS PROPERLY JOINED AND SERVED

        Defendant Wayne Seiber ("Seiber") files this Notice of Removal pursuant to 28 U.S.C. §§

 1441(a) and (b) and 1446(b) and (c) to remove this action from the First Judicial District of

 Pennsylvania, Court of Common Pleas, Philadelphia County, September Term 2017, No. 01061

 ("State Action"), where it is now pending, to the United States District Court for the Eastern

 District of Pennsylvania to which all other Defendants properly joined and served consent. In

 support thereof, Seiber avers as follows:

 I.     IDENTIFICATION OF PARTIES AND INTERESTS

        1.      On September 12, 2017, Plaintiffs instituted their State Action by filing a

 Complaint against the above-named Defendants. (Ex. "A," Plaintiffs' Complaint.)

        2.      This action arises from a motor vehicle accident that occurred on October 19,

 2015 on I-76 in Londonderry Township, Dauphin County, Pennsylvania. Plaintiffs allege that



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the accident occurred when Seiber, a resident and citizen of Ohio, was operating a tractor-trailer

that collided with a tractor-trailer operated by Plaintiff Rodger Kramer. (Id. ,-i 15.)

        3.      With respect to the other named Defendants, Plaintiffs' Complaint fails to name

the proper party or allege facts against the actual parties in interest.

        4.      At the time of the accident, Seiber was employed by and acting in the course and

scope of his employment with Pratt (Corrugated Logistics), LLC ("PCL"). (Ex. "B," Declaration

of Tina Overstreet). PCL was not properly named or joined as a defendant in this action.

        5.      At the time of the accident, Seiber was operating a tractor owned by Defendant

John Cheeseman Trucking, Inc. ("JCT") and leased to an entity named Pratt (Lewisburg

Container), LLC, who is not a party to this action.

        6.      At the time of the accident, Seiber was pulling a trailer owned by Wells Fargo

Equipment Finance Leasing, Inc., who is not a party to this action, and co-leased to PCL and its

parent corporation, Defendant Pratt Industries, Inc. ("Pratt").

        7.     At the time of the subject accident, neither JCT, as owner and lessor of the tractor

only, nor Pratt, as a co-lessee of the trailer only, were in possession or control of the tractor-

trailer being operated by Seiber.

        8.      Seiber was hauling a shipment from MillerCoors ("Shipper") located in Trenton,

Ohio to Shore Point Distributing located in Freehold, New Jersey. (Ex. "C," Rate Confirmation

for Load 6340912). The shipper is generally not liable for a motor vehicle accident that occurred

during transport.

       9.      Based on the foregoing facts, the only party in interest that has been properly

identified, named and joined as a defendant to this action is Seiber. Although PCL, as Seiber's

employer, is a party in interest, it has not been properly named or joined to this action.



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        10.    Defendants Cheeseman, LLC ("Cheeseman"), Zumstein, Inc. ("Zumstein") and

RM ESOP, Inc. ("RM ESOP") are not parties in interest who were properly joined or served in

this action. These entities did not employ Seiber; nor did they own, operate, possess or control

any of the vehicles or equipment involved in this action. They were totally uninvolved with this

accident and transportation arrangement, even as a shipper.

        11.    Defendants Corrugated Logistics, LLC ("Corrugated Logistics"), Impress

Packaging, Inc. ("Impress Packaging") and Pratt Triad Packaging, LLC ("Triad") are not legally

recognized entities that could be named or joined to this action. They are fictitious entities that

can be disregarded for purposes of diversity. See 28 U.S.C. § 1441(b)(l).

       12.     Seiber files this Notice of Removal based on diversity jurisdiction pursuant to 28

U.S.C. § 1332 because none of the "parties in interest properly joined and served" are citizens of

the Commonwealth of Pennsylvania, the state where the action was brought.

       13.     There is complete diversity of citizenship between Plaintiffs and the parties in

interest properly joined and served, and the amount in controversy, exclusive of interest and costs,

exceeds seventy-five thousand dollars ($75,000.00).

II.    CITIZENSHIP OF PLAINTIFFS AND PARTIES IN INTEREST

       14.     A natural person is deemed to be a citizen of the state where he is domiciled.

Lincoln Benefit Life Co. v. AEI Life, LLC, 800 F.3d 99, 104 (3d. Cir. 2015).

       15.     At the time of the filing of the State Action and the filing of the Notice of Removal

and at all other relevant times, Plaintiffs were/are adult individuals domiciled and residing at 34

Spring Lane, Levittown, Pennsylvania 19055 (see Ex. "A,"        ~   1); and thus are citizens of the

Commonwealth of Pennsylvania.




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        16.     At the time of the filing of the State Action and the filing of the Notice of Removal

and at all other relevant times, Seiber was/is an adult individual domiciled and residing at 2070

Old Falls Drive, Vandalia, Ohio 45377 (see id.    if 2); and thus is a citizen of the State of Ohio.
        17.     "A corporation is a citizen both of the state where it is incorporated and of the state

where it has its principal place of business." Lincoln Benefit Life Co. v. AEI Life, LLC, 800 F.3d

99, 104-105 (3d Cir. 2015) (internal citations omitted).

        18.     "The citizenship of an [limited liability company ("LLC")] is determined by the

citizenship of its members." Zambelli Fireworks Mfg. Co. v. Wood, 592 F.3d 412, 420 (3d Cir.

2010) (internal citations omitted).

        19.     At the time of the filing of the State Action and the filing of the Notice of Removal

and at all other relevant times, Pratt was/is a corporation incorporated in the State of Delaware

with its principal place of business located at 1800 Sarasota Parkway, Conyers, Georgia 30013

(see Ex. "A," if 3); and thus a citizen of the States of Delaware and Georgia.

        20.    At the time of the filing of the State Action and the filing of the Notice of Removal

and at all other relevant times, JCT was/is a corporation incorporated in the State of Ohio with its

principal place of business located at 2200 State Route 119, Fort Recovery, Ohio 45846 (see id.         if
9); and thus a citizen of Ohio.

        21.    At the time of the filing of the State Action and the filing of the Notice of Removal

and at all other relevant times, Cheeseman was/is a limited liability company with its principal

place of business located at 2200 State Route 119, Fort Recovery, Ohio 45846. (See id.        if 10.)
        22.    The sole member of Cheeseman is Dove Investments, Inc., which, at the time of

the filing of the State Action and the filing of the Notice of Removal and at all other relevant times,




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was/is a corporation incorporated in the State of Ohio with its principal place of business located

at 2200 State Route 119, Fort Recovery, Ohio 45846.

         23.      Therefore, Cheeseman was/is a citizen of the State of Ohio at the time of the filing

of the State Action and the filing of the Notice of Removal and at all other relevant times.

Cheeseman did not employ Seiber; nor did Cheeseman own, operate, possess or control any of the

vehicles or equipment involved in this action. It was totally uninvolved with this accident and

transportation arrangement, even as a shipper.

         24.      At the time of the filing of the State Action and the filing of the Notice of Removal

and at all other relevant times, RM ESOP was/is a corporation incorporated in the State of

California with its principal place of business at 340 El Camino Real S, Salinas, California 93901

(see id. if 7); and thus a citizen of the State of California.

         25.      At the time of the filing of the State Action and the filing of the Notice of Removal

and all other relevant times, Zumstein was/is a corporation incorporated in the State of Delaware

with its principal place of business located at 701 Industrial Dr. W, Fort Recovery, OH 45846; and

thus a citizen of Delaware and Ohio. 1

III.     IMPROPERLY NAMED, NON-EXISTENT ENTITIES AND ENTITIES WITH NO
         INTEREST IN THE SUBJECT MATTER

         26.      As mentioned, Corrugated Logistics, Impress and Triad are fictitious entities, the

citizenship of which shall be disregarded for diversity purposes. 28 U.S.C. 1441(b)(l).

         27.      Plaintiffs allege that Corrugated Logistics is an entity with a principal place of

business at 1800 Sarasota Parkway, Conyers, Georgia 30013 (see Ex. "A,"                       if 4), but there is no
such entity located at that address.


1
  In their Complaint, Plaintiffs allege that Zumstein has a principal place of business located at 2310 Grant Building,
Pittsburgh, PA 15219; however, that address is the address of its registered process agent in Pennsylvania pursuant
to the Federal Motor Carrier Safety Regulations. See 49 CFR 366.

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         28.     At the time of the filing of the State Action and the filing of the Notice of Removal,

that address was the principal place of business of PCL, Seiber's employer, who is not a named

defendant in this action.

         29.     PCL was/is a limited liability company whose sole member is Pratt (Corrugated

Holdings), Inc., which, at the time of the filing of the State Action and the filing of the Notice of

Removal and at all other relevant times, was/is a corporation incorporated in the State of Delaware

with its principal place of business located at 1800 Sarasota Parkway, Conyers, Georgia 30013.

         30.     Therefore, PCL was/is a citizen of the States of Delaware and Georgia at the time

of the filing of the State Action and the filing of the Notice of Removal and at all other relevant

times.

         31.    Plaintiff alleges that Impress is an entity with a principal place of business located

at 726 Broad Street, Emmaus, Pennsylvania 18049 (see Ex. "A," if 5), but there is no such entity

located at that address.

         32.    At the time of the filing of the State Action and the filing of the Notice of Removal

and at all other relevant times, that address was the principal place of business of a company called

Pratt (Impress Manufacturing), Inc. ("PIM"), which is neither a named defendant nor a party in

interest to this action.

         33.    At the time of the filing of the State Action and the filing of the Notice of Removal

and at all other relevant times, PIM was/is a corporation incorporated in the Commonwealth of

Pennsylvania; and thus is a citizen of the Commonwealth of Pennsylvania.

         34.    PIM, even if properly named and joined, has no involvement whatsoever in the

subject accident. (Ex. "D," Affidavit of Gloria Arndt.). PIM did not employ Seiber; nor did it




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own, operate, possess or control any of the vehicles or equipment involved in this action. It was

totally uninvolved with this accident or transportation arrangement, even as a shipper.

        35.     Plaintiff alleges Triad is an entity with a principal place of business at 100 Industrial

Drive, Bristol, Tennessee 37620 (see Ex. "A," ,-i 6), but there is no such entity located at that

address.

       36.     At the time of the filing of the State Action and the filing of the Notice of Removal,

that address was the principal place of business of Pratt (Triad Packaging), LLC ("PTP").

       37.     At the time of the filing of the State Action and the filing of the Notice of Removal

and at all other relevant times, PTP was/is a limited liability company whose sole member was/is

Pratt (Corrugated Holdings), Inc., which, at the time of the filing of the State Action and the filing

of the Notice of Removal and at all other relevant times, was/is a corporation incorporated in the

State of Delaware with its principal place of business located at 1800 Sarasota Parkway, Conyers,

Georgia 30013.

       38.     Therefore, PTP was/is a citizen of the States of Delaware and Georgia at the time

of the filing of the State Action and the filing of the Notice of Removal and at all other relevant

times. Additionally, PTP did not employ Seiber; nor did it own, operate, possess or control any of

the vehicles or equipment involved in this action. It was totally uninvolved with this accident or

transportation arrangement, even as a shipper.

IV.    REMOVAL IS PROPER BASED ON DIVERSITY OF CITIZENSHIP

       A.      NOTICE OF REMOVAL IS TIMELY FILED AND ALL JOINED AND
               PROPERLY SERVED DEFENDANTS CONSENT TO ITS FILING

       39.     On September 27, 2017, Plaintiffs served the Complaint on Seiber by certified mail.

(Ex. "E," Affidavit of Service on Seiber.)




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       40.     This notice ofremoval is timely filed because it was filed within thirty (30) days of

service of the State Action on Seiber.

       41.     On September 18, 2017, Plaintiffs served the Complaint on Pratt and RM ESOP by

certified mail. (Ex. "F," Affidavit of Service on Pratt; Ex. "G," Affidavit of Service on RM ESOP.)

       42.     On September 19, 2017, Plaintiffs served the Complaint on JCT and Cheeseman by

certified mail. (Ex. "H," Affidavit of Service on JCT; Ex. "I," Affidavit of Service on Cheeseman.)

       43.     Upon information and belief, Plaintiff served the Complaint on Zumstein by

certified mail on October 16, 2017. At the time of the filing of this Notice of Removal, no affidavit

of service has been filed by Plaintiff in the State Action.

       44.     Pratt and JCT, the only parties in interest properly joined and served, consent to

Seiber's Notice of Removal pursuant to 28 U.S.C. § 1446(b)(2)(A). Cheeseman, Zumstein and

RM ESOP, parties who have no interest in this matter at all, nonetheless consent to the Notice of

Removal.

       45.     Corrugated Logistics, Impress and Triad are improperly named and non-existent

entities; therefore, these entities cannot be served and cannot consent to the Notice of Removal.

Pursuant to 28 U.S.C. § 1441(b)(l), "the citizenship of defendants sued under fictitious names

shall be disregarded."

       46.     Notwithstanding, Plaintiffs have purportedly filed Affidavits of Service in the State

Action alleging that Corrugated Logistics and Triad were served by certified mail on September

18, 2017, and that Impress was served by personal service on September 25, 2017. (Ex. "J,"

Affidavit of Service on Corrugated Logistics; Ex. "K," Affidavit of Service on Triad; Ex. "L,"

Affidavit of Service on Impress.)




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         47.      The improperly named and non-existent entities who have no interest in the subject

matter of this litigation were purportedly served at the principal places of business of PCL, PIM

andPTP.

         48.      The properly named Defendants Pratt, RM ESOP, JCT, Cheeseman and Zumstein

consent to this Notice of Removal. A copy of the Consent of the Properly Named Defendants

Pratt, RM ESOP, JCT, Cheeseman and Zumstein is attached to this Notice of Removal as Exhibit

"M" and has also been filed separately with the Court.

         49.      PCL, PIM and PTP consent to this Notice of Removal in the event the Court deems

these entities joined and properly served as defendants despite Plaintiffs' error. A copy of the

Consent of PCL, PIM and PTP is attached hereto as Exhibit "N" and has also been separately filed

with the Court by and through Seiber.

         50.      The United States District Court for the Eastern District of Pennsylvania is the

federal judicial district encompassing Philadelphia County, Pennsylvania, the improper forum

where the State Action was filed. For purposes of removal, venue lies in this Court pursuant to 28

U.S.C. § 1441(a). 2

         51.      Pursuant to 28 U.S.C. § 1446(a), this Notice of Removal contains a "copy of all

process, pleadings, and orders served upon the defendants in this action."

         52.      Prompt written notice of this Notice of Removal is being sent to Plaintiffs through

their counsel, and a copy of this Notice of Removal is being filed with the Prothonotary of the First

Judicial District of Pennsylvania, Court of Common Pleas of Philadelphia County, as required by

28 U.S.C. § 1446(d).



2 Defendants reserve their rights to request a transfer of venue to the United States District Court for the Middle

District of Pennsylvania, where the events underlying this action took place.


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        B.      IF THE COURT OVERLOOKS THE ERROR OF PLAINTIFFS IN
                FAILING TO PROPERLY NAME DEFENDANTS, THEN NON-PARTY
                PRATT (IMPRESS MANUFACTURING), INC., A PENNSYLVANIA
                CITIZEN, HAS BEEN FRAUDULENTLY JOINED

        53.     At the time of the filing of the State Action and the filing of the Notice of

Removal and at all other relevant times, Plaintiffs were/are citizens of the Commonwealth of

Pennsylvania.

        54.     As of the filing of this Notice of Removal, Plaintiffs have not properly joined and

served any Pennsylvania defendant.

       55.      While PIM is not a defendant to this action, it was/is a citizen of Pennsylvania. If

the Court overlooks the error of Plaintiffs in failing to properly name defendants and if the Court

deems PIM as a defendant in this action, then PIM was fraudulently joined.

       56.      The diverse defendants in a state court action may remove the case if they "can

establish that the non-diverse defendants were 'fraudulently' named or joined solely to defeat

diversity jurisdiction." In re Briscoe, 448 F.3d 201, 216 (3d Cir. 2006).

       57.      A party alleging fraudulent j oinder carries a "heavy burden of persuasion" in

making this showing. Batoffv. State Farm Ins. Co., 977 F.2d 848, 851 (3d Cir. 1992).

       58.      Joinder is fraudulent when "there is no reasonable basis in fact or colorable

ground supporting the claim"; in other words, when the claim is "wholly insubstantial and

frivolous." Id. at 852-53.

       59.      Simply naming an entity that has no direct or indirect role in the accident and

alleging they had such a role for purposes of defeating diversity jurisdiction constitutes

fraudulent joinder.

       60.      PIM was/is a citizen of Pennsylvania, but it is not a properly named defendant in

this action. If the Court overlooks the error of Plaintiffs in failing to properly name defendants
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        Case 5:17-cv-04863-EGS Document 1 Filed 10/27/17 Page 11 of 43




and if the Court deems PIM a defendant in this action, then diversity jurisdiction would still exist

because PIM had no direct or indirect involvement with Seiber, as an employer or otherwise, and

because PIM had no involvement with the vehicle being used or the delivery being made by Seiber

at the time of the accident. PIM was totally uninvolved with this accident or transportation

arrangement, even as a shipper.

       61.     PIM is a company in the business of manufacturing corrugated boxes. (Ex. "D.")

At the time of the accident, PIM contracted with PCL pursuant to which drivers of PCL would

transport products and materials from PIM' s facility in Emmaus, Pennsylvania. (Id)

       62.     However, Seiber has never been assigned to haul anything for PIM. (Ex. "B," "D.")

PIM did not employ Seiber; nor did it own, operate, possess or control any of the vehicles or

equipment involved in this action. It was totally uninvolved with this accident or transportation

arrangement, even as a shipper.

       63.     There is no cognizable legal theory under which PIM could be held liable.

       64.     Therefore, the joinder of PIM is fraudulent and it should not be considered in

determining whether complete diversity exists among the parties.

       C.      THE AMOUNT IN CONTROVERSY EXCEEDS $75,000

       65.     This Court has jurisdiction pursuant to 28 U.S.C. § 1332 because the amount in

controversy is greater than $75,000, exclusive of interest and costs. 28 U.S.C. § 1332.

       66.     Where a case has been removed, the amount in controversy is generally gleaned

from the plaintiffs complaint. Angus v. Shiley, Inc., 989 F.2d 142, 145 (3d Cir. 1993).

       67.     Furthermore, the estimate should not be based on the "low end of an open-ended

claim," but rather on a "reasonable reading of the value of the rights being litigated." Judon v.

Travelers Prop. Cas. Co. ofAm., 773 F.3d 495, 507 (3d Cir. 2014); Werwinski v. Ford Motor Co.,



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286 F.3d 661, 666 (3d Cir. 2002) (quoting Angus, 989 F.2d at 146 (internal quotation marks

omitted)).

          68.       Plaintiff Rodger Kramer is asserting a claim for personal injuries, and Plaintiff

Colleen Brusius is asserting a loss of consortium claim. See generally Ex. "A".

          69.       In their Complaint, Plaintiffs seek damages in excess of $50,000. (Ex. "A," Ad

Damnum Clauses.)

          70.       Plaintiff Rodger Kramer alleges the following injuries and damages:

                 ... serious, permanent, and debilitating injuries, as the direct and proximate
                result of the conduct of all Defendants, including, but not limited to, the
                following injuries: moderate degenerative disc disease at L4-5; foraminal
                disc bulging with slight foraminal stenosis on the left at L3-4; slight
                degenerative foraminal stenosis on the left at L3-L4; slight degenerative
                foraminal stenosis at L4-5; mild degenerative left foraminal stenosis at L4-
                S 1; sprain/strain of left wrist/hand; constant neck pain, headaches, back
                pain, irritability, neck stiffness, right-sided rib pain, numbness and tingling
                in the legs/toes, numbness and tingling in the arms and finger, memory loss,
                sleeping problems, ringing in ears, loss of balance and disorientation,
                multiple contusions and abrasion. Plaintiff as a result of his traumatic
                injuries has been required to undergo physical therapy; Plaintiff was
                required to undergo injections; he sustained further injury to the bones,
                muscles, nerves and ligaments of his body, the full extent of which have yet
                to be determined; he sustained other orthopedic, neurologic and
                psychological injuries, the full extent of which has yet to be determined; he
                has in the past been required and may in the future continue to be required
                to submit x-rays, MRis, and other diagnostic studies; he has in the past
                suffered and may in the future continue to suffer agonizing aches, pains,
                and mental anguish; he has in the past and may in the future continue to
                endure pain and suffering; he has incurred significant past medical bills and
                will likely incur future medical bills; he has in the past and may in the future
                continue to be disabled from performing his usual duties, occupations and
                avocations, all to his great loss and detriment; he has suffered from severe
                embarrassment and humiliation.

(Id   if 17.)
          71.      A December 23, 2015 letter from Vanliner Insurance Company, the workers'

compensation insurance carrier for Plaintiff Rodger Kramer, stated that Plaintiff had received



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benefits for medical treatment and at least two months of lost wages; Defendants believe and

therefor aver that these benefits continued. (Ex. "M," Letter from V anliner Insurance Company

Dated December 23, 2015.)

         72.         In sum, Plaintiff Rodger Kramer is seeking damages consisting of: 1) past and

future pain and suffering; 2) past and future medical expenses; and 3) past and future lost wages.

         73.         Based on the foregoing, the amount in controversy is in excess of $75,000
                                      3
exclusive of interest and costs.

         74.         Because the requirements for federal diversity jurisdiction pursuant to 28 U.S.C. §

1332 are satisfied, i.e., complete diversity of citizenship between Plaintiffs and Defendants and

the amount in controversy exceeding $75,000, this action is properly removable.

         WHEREFORE, Defendant Seiber respectfully requests that the State Action be removed

from the Court of Common Pleas of Philadelphia Countyto the United States District Court for the

Eastern District of Pennsylvania.

                                                                MCDONNELL & ASSOCIATES, P.C.

Dated:         IO ).i:?   } 11                            By:       ..l@;;l/?11~
                 I        I                                     Patrick J. McDonnell, Esquire
                                                                Attorney I.D. No. 62310
                                                                pmcdonnell@mcda-law.com
                                                                Robert E. McDivitt III, Esquire
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                                                                (610) 337-2087 - Telephone
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                                                                Attorneys for Defendants Wayne Seiber,
                                                                Pratt Industries, Inc., RM ESOP, Inc., John
                                                                Cheeseman Trucking, Inc., Cheeseman, LLC
                                                                and Zumstein, Inc.

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  The Court may exercise supplemental jurisdiction over the claim of Plaintiff Colleen Brosius because there is
federal diversity jurisdiction for the claim of Plaintiff Rodger Kramer. See 28 U.S.C. § 1367(b).

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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
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RODGER KRAMER and COLLEEN                                 CIVIL ACTION
BRUSIUS, h/w
       Plaintiffs,
                                                          Case No.   ~~~~~~~~~




          v.

WAYNE SEIBER, PRATT                                       JURY TRIAL DEMANDED
INDUSTRIES, INC., CORRUGATED
LOGISTICS, LLC, IMPRESS
PACKAGING, INC., PRATT TRIAD
PACKAGING, LLC, RM ESOP, INC.,
JOHN CHEESEMAN TRUCKING, INC.,
CHEESEMAN, LLC and ZUMSTEIN, INC.
       Defendants.


                                     CERTIFICATE OF SERVICE

         I, Robert E. McDivitt III, Esquire, hereby certify that on October 27, 2017, the Notice of Removal
 of Defendant Wayne Seiber with Consent of All Defendants Properly Joined and Served was filed with the
 Court and will be available for viewing and downloading from the ECF system. I also certify that a true
 and correct copy was served via electronic and first class mail on this same date on the following:

                                          Brian E. Fritz, Esquire
                                      Robyn L. Goldenberg, Esquire
                                   Fritz, Goldenberg & Bianculli, LLC
                                      1515 Market Street, Suite 1801
                                          Philadelphia, PA 19102
                                          Attorneys for Plaintiffs

                                                          MCDONNELL & ASSOCIATES, P.C.

 Dated:   \()I J.l /\ J
                     I
                                                     By:~
                                                         Patrick J. McDonnell, Esquire
                                                         Robert E. McDivitt III, Esquire
                                                         Metropolitan Business Center
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                                                         Attorneys for Defendants Wayne Seiber, Pratt
                                                         Industries, Inc., RM ESOP, Inc., John
                                                         Cheeseman Trucking, Inc., Cheeseman, LLC
                                                         and Zumstein, Inc.




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FRITZ, GOLDENBERG & BIANCULLI, LLC                Dus IS NOT AN ARBITRATION
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By:    BRIAN E. FRITZ, ESQUIRE                     A JURY OF 12,..P~~~~ANDED.
                                                                 (7 ~~// rl"~~~? '~
       ROBYN L. GOLDENBERG, ESQUIRE                                             '(b'.li- the
                                                                                  '' iords
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                                                            \
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bfritz@fritzgoldenberg.com
robyn@fritzgoldenberg.com

RODGER KRAMER and COLLEEN BRUSIUS, h/w
34 Spring Lane                            PHILADELPHIA COUNTY
Levittown, PA 19055                       COURT OF COMMON PLEAS
                                          LAW DIVISION
   vs.
                                          SEPTEMBER TERM, 2017
WAYNE SEIBER
2070 OLD FALLS DRIVE                      NO.
Vandalia, OH 45377

And

PRATT INDUSTRIES, INC.
1800 Sarasota Parkway NE, Suite C
Conyers, GA 30013

And

CORRUGATED LOGISTICS, LLC
1800 Sarasota Parkway NE, Suite C
Conyers, GA 30013

And

IMPRESS PACKAGING, INC.
726 Broad Street
Emmaus, PA 18049

And

PRATT <TRIAD PACKAGING, LLC
100 Industrial Drive
Bristol, TN 37620-5423

And



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      RM ESOP, INC.
      340 El Camino Real S
      Salinas, CA 93901-4553

      And

     JOHN CHEE~EMAN TRUCKING, INC.
     2200 State Route 119
     Fort Recovery, OH 45846

     And

     CHEESEMAN, LLC
     2200 State Route 119
     Fort Recovery, OH 45846

     And

     ZUMSTEIN, INC.
     2310 Grant Building
     Pittsburgh, PA 15219


                                                       COMPLAINT IN CIVIL ACTION

                             "NOTICE"                                                                                          "AVISO'"

You have been sued in court. If you wish to defend against the claims set forth in    wLe hau demandado eu c:orte. Si usted desea defender contra las dema11da..;; dispuestas en la..;;
the following pages, you must take action within twenty (20) days after this          pLlgiuas siguientes, uste<l <lehe tomar la acci<'m eu el plazo de veinte (20) <lia.;; rlespues de esta
complaint and notice are served, by entering a written appearance personally or by    queja y se sllve el aviso, incorporando un aspecto escrito personalmente o y archivando en
attorney and filing in writing with the court your defenses or objections to the      escrihi.r con la corte sus defensas u ohjeciones a la.<: demandas clispuestas contra usted el ahogaclo
claims set forth against you. you are warned that if you fail to do so the case may   le advierte que que si usted no puede hacer asi que el caso puede proceder sin ustecl y un juicio
proceed without you and a judgment may be entered against you buy the court           se puede incorporM contra usted comprd la carte sin aviso adic_.iona] para cualquier <linero
                                                                                      demand.ado en la queja o par.i cualquier otra demand.a o relevaci6n pedida par e1 demandante.
without further notice for any money claimed in the complaint or for any other
                                                                                      Usted puede perder el dinero o la carc1.cteristica de otra endereza import.ante a usted.
claim or relief requested by the plaintiff. You may lose money or property of other
rights important to you.
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                                                                                       NO RACE QUE UN ABOGADO VAYA A 0 !LAME POR TELEFONO La OFICINA
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WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL                                  HONORARIO REDUCIDO 0 NINGUN HONORARIO
SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.
              LAWYER REFERENCE SERVICE                                                                     SERVICIO DE REFERENCIA LEGAL
                   One Reading Center                                                                      One Reading Center
                   1101 Market Street                                                                      1101 Market Street
                   Philadelphia, Pennsylvania 19107                                                        Filadelfia, Pennsylvania 19107
                   (215) 238-6333                                                                          Telefono (215) 238-6333




              1.           Plaintiffs, Rodger Kramer and Colleen Brusius, h/w, are adult individuals residing

 at 34 Spring Lane, Levittown, PA 19055.



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        2.     Defendant, Wayne Seiber, is an adult individual who resides at 2070 Old Falls

Drive, Vandalia, OH 45377.

        3.     Defendant, Pratt Industries, Inc., is a corporation or other business entity with its

principal place of business located at 1800 Sarasota Parkway, Conyers, GA 30013, and, at all times

relevant hereto, engaged in substantial, continuous and systematic business in the Commonwealth

of Pennsylvania and the County of Philadelphia.

       4.      Defendant, Corrugated Logistics, LLC, is a corporation or other business entity

with its principal place of business located at 1800 Sarasota Parkway, Conyers, GA 30013, and, at

all times relevant hereto, engaged in substantial, continuous and systematic business in the

Commonwealth of Pennsylvania and the County of Philadelphia.

       5.      Defendant, Impress Packaging, Inc., is a corporation or other business entity with

its principal place of business located at 726 Broad Street, Emmaus, PA 18049, and, at all times

relevant hereto, engaged in substantial, continuous and systematic business in the Commonwealth

of Pennsylvania and the County of Philadelphia.

       6.      Defendant, Pratt (Triad Packaging), LLC, is a corporation or other business entity

with its principal place of business located at 100 Industrial Drive, Bristol, TN 37620, and, at all

times relevant hereto, engaged in substantial, continuous and systematic business in the

Commonwealth of Pennsylvania and the County of Philadelphia.

       7.      Defendant, RM ESOP, Inc., is a corporation or other business entity with its

principal place of business located at 340 El Camino Real S, Salinas, CA 93901, and, at all times

relevant hereto, engaged in substantial, continuous and systematic business in the Commonwealth

of Pennsylvania and the County of Philadelphia.




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       8.      Defendants, Pratt Industries, Inc., Corrugated Logistics, LLC, Impress Packaging,

Inc., Pratt (Triad Packaging), LLC and RM ESOP, Inc., will collectively be referred hereinafter as

"The Pratt Defendants."

       9.      Defendant, John Cheeseman Trucking, Inc., is a corporation or other business entity

with its principal place of business located at 2200 State Route 119, Fort Recovery, OH 45846

and, at all times relevant hereto, engaged in substantial, continuous and systematic business in the

Commonwealth of Pennsylvania and the County of Philadelphia.

       10.     Defendant, Cheeseman, LLC, is a corporation or other business entity with its

principal place of business located at 2200 State Route 119, Fort Recovery, OH 45846 and, at all

times relevant hereto, engaged in substantial, continuous and systematic business in the

Commonwealth of Pennsylvania and the County of Philadelphia.

       11.     Defendant, Zumstein, Inc., is a corporation or other business entity with its

principal place of business located at 2310 Grant Building, Pittsburgh, PA 15219, and, at all times

relevant hereto, engaged in substantial, continuous and systematic business in the Commonwealth

of Pennsylvania and the County of Philadelphia.

       12.     Defendants, John Cheeseman Trucking, Inc., Cheeseman, LLC and Zumstein, Inc.,

will collectively be referred hereinafter as "The Cheeseman Defendants."

       13.     At all times relevant hereto, Defendant, Wayne Seiber, the Pratt and the Cheeseman

Defendants, were acting individual and/or by and through their agents, servants, workmen and/or

employees within the course and scope of their employment.




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                                              OPERATIVE FACTS

        14.        On or about October 19, 2015, Defendant, Seiber, while working for the Pratt

and/or Cheeseman defendants was traveling in the right lane on Eastbound I-76, while Plaintiff,

Rodger Kramer, was traveling in the left lane in the same direction.

        15.        Suddenly, and without warning, Defendant, so carelessly, negligently and

recklessly operated his vehicle to drift into Plaintiffs lane without warning, colliding into

Plaintiffs vehicle and causing Plaintiff to sustain the injuries and other losses hereinafter more

fully set forth.

        16.        At the time of the accident, Plaintiff received a citation from the Pennsylvania State

Police for violating "3309 Roadways Laned for Traffic," careless passing and/or lane change.

        17.        As a direct result of this accident, Plaintiff was caused to sustain serious,

permanent, and debilitating injuries, as the direct and proximate result of the conduct of all

Defendants, including, but not limited to, the following injuries: moderate degenerative disc

disease at U-5; foraminal disc bulging with slight foraminal stenosis on the left at L3-U; slight

degenerative foraminal stenosis at U-5; mild degenerative left foraminal stenosis at L4-Sl;

sprain/strain of left wrist/hand; constant neck pain, headaches, back pain, irritability, neck

stiffness, right-sided rib pain, numbness and tingling in the legs/toes, numbness and tingling in

arms and finger, memory loss, sleeping problems, ringing in ears, loss of balance and

disorientation, multiple contusions and abrasions. Plaintiff as a result of his traumatic injurie has

been required to undergo physical therapy; Plaintiff was required to undergo injections; he

sustained further injury to the bones, muscles, nerves and ligaments of his body, the full extent of

which have yet to be determined; he sustained other orthopedic, neurologic and psychological

injuries, the full extent of which has yet to be determined; he has in the past been required and may



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in the future continue to be required to submit to x-rays, MRis, and other diagnostic studies; he

has in the past suffered and may in the future continue to suffer agonizing aches, pains, and mental

anguish; he has in the past and may in the future continue to endure pain and suffering; he has

incurred significant past medical bills and will likely incur future medical bills; he has in the past

and may in the future continue to be disabled from performing his usual duties, occupations and

avocations, all to his great loss and detriment; he has suffered from severe embarrassment and

humiliation.

                             COUNT I-NEGLIGENCE
             PLAINTIFF, RODGER KRAMER VS. DEFENDANT, WAYNE SEIBER

        18.     Plaintiffs incorporate herein by reference all averments set forth above as if fully

set forth herein, pursuant to Pa. R.C.P. 1019(g).

        19.     At all relevant times herein and material hereto, Defendant, Wayne Seiber,

operated, managed, controlled and/or maintained control over the tractor trailer truck and was

therefore, responsible for the safety of others on the roadway, including, but not limited to, the

Plaintiff.

        20.     At all relevant times herein and material hereto, Defendant, Wayne Seiber, owed

Plaintiff a common law and statutory duty of care to operate a vehicle within the laws of the

Commonwealth of Pennsylvania.

        21.     At all relevant times herein and material hereto, Defendant, Wayne Seiber, operated

a vehicle negligently, carelessly and recklessly, which caused Plaintiff to suffer injuries to his body

and property:

                (a)    operating a motor vehicle recklessly and negligently within the laws of the

                       Commonwealth of Pennsylvania;

                (b)    operating his vehicle at an excessive rate of speed;


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               (c)    failing to keep an adequate and proper lookout for others, like Plaintiff, on

                      the roadway;

               (d)    failing to maintain proper and adequate control of said vehicle;

               (e)    failing to yield to other traffic on the roadway;

               (f)    failing to obey traffic controls;

               (g)    failing to take evasive action to avoid impact with another vehicle;

               (h)    failing to exercise a reasonable duty of care in observing other vehicles;

               (i)    failing to keep a proper lookout;

               (j)    failing to consistently maintain his daily logs in violation ofVC 4107b2;

               (k)    failing to follow Federal Motor Carrier Safety Association (FMCSA) rules

                      and regulations;

               (j)    failing to use a turn signal to switch lanes; and

               (k)    in being otherwise careless, reckless and negligent, the particulars of which

                      are presently unknown to Plaintiffs but which may be learned by discovery

                      procedures provided by the Pennsylvania Rules of Civil Procedure or which

                      may be learned at the trial of this case.

       22.     By reason of the carelessness, negligence and recklessness of Defendant, Seiber, as

aforesaid, Plaintiff sustained serious and permanently disabling injuries and damages more fully

set forth in Paragraph 17 of this Complaint, and incorporated by reference herein.

       WHEREFORE, Plaintiff, Rodger Kramer, claims of Defendants, jointly and severally, a

sum in excess of Fifty Thousand Dollars ($50,000) in damages, exclusive of interest, and delay

damages, pursuant to Pa. R.C.P. 238, and brings this action to recover the same.




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                 COUNT II - NEGLIGENT ENTRUSTMENT
  PLAINTIFF, RODGER KRAMER VS. DEFENDANTS, PRATT INDUSTRIES, INC.,
     CORRUGATED LOGISTICS, LLC, IMPRESS PACKAGING, INC., PRATT
   TRIAD PACKAGING, LLC, RM ESOP, INC., JOHN CHEESEMAN TRUCKING,
               INC., CHEESEMAN, LLC AND ZUMSTEIN, INC.

       23.       Plaintiff incorporates herein by reference all averments set forth above as if fully

set forth herein, pursuant to Pa. R.C.P. 1019(g).

       24.       The independent negligence of the Pratt and Cheeseman Defendants, consisted of:

the following:

             a) Entrusting and making its motor vehicle available to Defendant, Wayne Seiber,

                 when it knew, or in the exercise of reasonable care, should have known that

                 Defendant, Wayne Seiber, was not capable of operating his motor vehicle safely

                 upon the public roadways;

             b) Entrusting and making its motor vehicle available to Defendant, Wayne Seiber, for

                 use when Defendants, knew, or in the exercise of reasonable care, should have

                 known that Defendant, Wayne Seiber, was capable of driving the vehicle in an

                 improper, dangerous and reckless manner;

             c) Allowing unqualified employees, such as Defendant, Wayne Seiber, to drive its

                 motor vehicle;

             d) Failing to supervise employees, such as Defendant, Wayne Seiber, and allowing

                 them to utilize its motor vehicle in unreasonable and dangerous manner;

             e) Failing to adequately convey policies and procedures to its employees for the

                 proper use of its motor vehicle.

       25.       By reason of the carelessness, negligence and recklessness of the Pratt and

Cheeseman Defendants, as aforesaid, Plaintiff sustained serious and permanently disabling injuries



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and damages more fully set forth in Paragraph 17 of this Complaint, and incorporated by reference

herein.

          WHEREFORE, Plaintiff, Rodger Kramer, claims of Defendants, jointly and severally, a

sum in excess of Fifty Thousand Dollars ($50,000) in damages, exclusive of interest, and delay

damages, pursuant to Pa. R.C.P. 238, and brings this action to recover the same.

                        COUNT III - NEGLIGENCE
  PLAINTIFF, RODGER KRAMER VS. DEFENDANTS, PRATT INDUSTRIES, INC.,
     CORRUGATED LOGISTICS, LLC, IMPRESS PACKAGING, INC., PRATT
   TRIAD PACKAGING, LLC, RM ESOP, INC., JOHN CHEESEMAN TRUCKING,
               INC., CHEESEMAN, LLC AND ZUMSTEIN, INC.

          26.   Plaintiff incorporates herein by reference all averments set forth above as if fully

set forth herein, pursuant to Pa.R.C.P. 1019(g).

          27.   At all relevant times material hereto, the Pratt and the Cheeseman Defendants,

employed Defendant Seiber to operate the aforementioned tractor trailer truck.

          28.   At all relevant times material hereto, Defendant, Wayne Seiber, was the agent,

servant and employee of the Pratt and the Cheeseman Defendants, and was acting within the

scope of his employment.

          29.   The Pratt and the Cheeseman Defendants owed Plaintiff a common law duty of

care to exercise reasonable care in selecting, supervising and controlling employees such as

Defendant, Wayne Seiber.

          30.   The Pratt and the Cheeseman Defendants knew or should have known, in the

exercise of ordinary care, of the necessity to train, monitor and exercise control over employees,

such as Defendant, Wayne Seiber.




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        31.     The Pratt and the Cheeseman Defendants, breached the duty of care owed to

Plaintiff by:

                a) failing to ensure employee, Defendant, Wayne Seiber, was qualified to operate

                     a motor vehicle safely on public roadways;

                b) failing to properly train employee, Defendant, Wayne Seiber, to obey

                     regulations governing safe operations of motor vehicles;

                c) failing to supervise employee, Defendant, Wayne Seiber, to ensure proper

                     operation of a motor vehicle safely on public roadways;

                d) failing to exercise sufficient control and supervision of employee, Defendant,

                     Wayne Seiber, in obeying regulations applicable to safe operations of motor

                     vehicles;

                e) failing to hire competent employees, such as Defendant, Wayne Seiber;

                f) negligently entrusting a vehicle owned by Defendant to one who they knew or

                     should have known was unqualified or unable to operate said vehicle;

                g) failing to properly evaluate the background and/or driving history of

                     employees, such as Defendant, Wayne Seiber;

                h) failing to adopt and/or enforce appropriate and adequate hiring policies and

                     procedures;

                i) failing to adequately test, observe and/or otherwise evaluate employees'

                     competence and qualifications;

                j)   failing to adopt, enforce, and/or observe applicable regulations governing the

                     safe operation of motor vehicles;

                k) hiring incompetent, unfit and unsafe motor vehicle operators;



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                1) failing to have in place adequate policies and procedures;

                m) acting at all times in an otherwise careless, negligent, grossly negligent and/or

                    reckless manner.

          32.   By reason of the carelessness, negligence and recklessness of the Pratt and

Cheeseman Defendants, as aforesaid, Plaintiff sustained serious and permanently disabling injuries

and damages more fully set forth in Paragraph 17 of this Complaint, and incorporated by reference

herein.

          WHEREFORE, Plaintiff, Rodger Kramer, claims of Defendants, jointly and severally, a

sum in excess of Fifty Thousand Dollars ($50,000) in damages, exclusive of interest, and delay

damages, pursuant to Pa. R.C.P. 238, and brings this action to recover the same.

                     COUNT IV -VICARIOUS LIABILITY
  PLAINTIFF, RODGER KRAMER VS. DEFENDANTS, PRATT INDUSTRIES, INC.,
  CORRUGATED LOGISTICS, LLC, IMPRESS PACKAGING, INC., PRATT TRIAD
      PACKAGING, LLC, RM ESOP, INC., JOHN CHEESEMA TRUCKING,
               INC., CHEESEMAN, LLC AND ZUMSTEIN, INC.

          33.   Plaintiff incorporates herein by reference all averments set forth above as if fully

set forth herein, pursuant to Pa. R.C.P. 1019(g).

          34.   At all relevant times material hereto, the Pratt and the Cheeseman Defendants

employed Defendant, Wayne Seiber, to operate the aforementioned vehicle.

          35.   At all relevant times material hereto, Defendant, Wayne Seiber, was the agent,

servant, and employee of the Pratt and the Cheeseman Defendants was acting within the scope of

his employment.

          36.   The Pratt and the Cheeseman Defendants were vicariously liable for the action,

inactions and/or omission of its agent, servant and employee, Defendant, Wayne Seiber.




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        3 7.   As a direct and proximate result of the negligent acts, omissions or failures to act,

of the Pratt and the Cheeseman Defendants' agent, servant, and employee, Defendant, Wayne

Seiber, Defendants caused Plaintiff to suffer serious and debilitating injuries.

        38.    By reason of the carelessness, negligence and recklessness of Defendants, as

aforesaid, Plaintiff sustained serious and permanently disabling injuries and damages more fully

set forth in Paragraph 17 of this Complaint, and incorporated by reference herein.

       WHEREFORE, Plaintiff, Rodger Kramer, claims of Defendants, jointly and severally, a

sum in excess of Fifty Thousand Dollars ($50,000) in damages, exclusive of interest, and delay

damages, pursuant to Pa. R.C.P. 238, and brings this action to recover the same.

                       COUNT V - LOSS OF CONSORTIUM
        PLAINTIFF, COLLEEN BRUSIUS VS. DEFENDANTS, WAYNE SEIBER,
      PRATT INDUSTRES, INC., CORRUGATED LOGISTICS, LLC, IMPRESS
   PACKAGING, INC., PRATT (TRIAD PACKAGING), LLC, RM ESOP, INC., JOHN
    CHEESEMAN TRUCKING, INC., CHEESEMAN, LLC AND ZUMSTEIN, INC.

       39.     Plaintiffs incorporate herein by reference all averments set forth above as if fully

set forth herein, pursuant to Pa. R.C.P. 1019(g).

       40.     Plaintiff, Colleen Brosius, is the wife of plaintiff, Rodger Kramer, and as such is

entitled to the society, companionship and services.

       41.     By reason of the defendants' carelessness, negligence and recklessness, wife-

plaintiff, Colleen Brosius, has suffered a loss of consortium and has been deprived ofher husband's

love, companionship, comfort, affection, society, moral guidance, intellectual strength and

physical assistance.




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       WHEREFORE, Plaintiffs, Rodger Kramer and Colleen Brosius, h/w, claims of defendants,

jointly and severally, separate sums in excess of Fifty Thousand Dollars ($50,000.00) in damages,

exclusive of interest, and delay damages, pursuant to Pa. R.C.P. 238, and brings this action to

recover the same.

                                     Respectfully submitted,

                                     FRITZ, GOLDENBERG & BIANCULLI, LLC



                                        :3~C.rua.
                                     BRIAN E. FRITZ, ESQlrllE
                                     ROBYN L. GOLDENBERG, ESQUIRE

                                     Attorneys for Plaintiffs,
                                     Rodger Kramer & Colleen Brosius, h/w




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                                      VERIFICATION

               /

        The avermentsordenials offact contained in the foregoing document are true based upon the

signer's personal knowledge or information and belief. If the foregoing contains averments

which are inconsistent in fact, signer has been unable, after reasonable investigation, to ascertain

whichoftheinconsistent averments are true, but signer has knowledge or information sufficient

to form a belief that one ofthem is true. This Verification is made subject to the penalties of

18 Pa. C.S. §4904, relatingtounswom falsification to authorities.


                                                    l/P~
                                                    RODGER KRAMER
DATE:         Septemrer 11, 2017




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



RODGER KRAMER and COLLEEN                            CIVIL ACTION
BRUSIUS, h/w
        Plaintiffs,
                                                     Case N o . - - - - - - - -
        v.
WAYNE SEIBER, PRATT                                  JURY TRIAL DEMANDED
INDUSTRIES, INC., CORRUGATED
LOGISTICS, LLC, IMPRESS
PACKAGING, INC., PRATT TRIAD
PACKAGING, LLC, RM ESOP, INC.,
JOHN CHEESEMAN TRUCKING, INC.,
CHEESEMAN, LLC and ZUMSTEIN, INC.
      Defendants.


                 DECLARATION OF TINA OVERSTREET
  ATTESTING TO EMPLOYMENT OF WAYNE SEIBER AND NON-INVOLVEMENT
              OF }>RATT (!MPRESS MANUFACTURING), INC.

        I, Tina Overstreet, declare that:

        1.      I am the Director of Safety and Compliance for Pratt (Corrugated Logistics), LLC

 ("PCL"), a Delaware limited-liability company providing logistics and motor-carrier services.

        2.      Since 2005 PCL has had its principal place of business located at 1800 Sarasota

 Parkway, Conyers, Ge9rgia 30013.

        3.     I am responsible for overseeing safety training and compliance at PCL as well as

 investigation of accidents involving drivers employed by PCL.

        4.     I am aware of the lawsuit filed by Plaintiffs Rodger Kramer and Colleen Brusius

 ("this Lawsuit") in which they allege that Mr. Kramer was injured in a motor-vehicle accident

 ("the alleged accident") near mile-marker 252.9 on Eastbound I-76 in Londonberry Township,

Dauphin County, Pennsylvania. on October 19, 2015, when a tractor-trailer operated by
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 Defendant Wayne Seiber allegedly collided with the tractor-trailer that Mr. Kramer was

 operating.

         5.       Mr. Seiber was employed by PCL at the time of the alleged accident. He was

principally assigned to drive for one of our customers, Pratt (Lewisburg Container), LLC

("Lewisburg Container") at its location in Lewisburg, Ohio, but would occasionally be assigned

to drive for another customer.

         6.       At the time of the alleged accident, Mr. Seiber was hauling a shipment of beer for

PCL's customer Mi1lerCoors, from the customer's pick-up location in            Trenton~   Ohio, to tbe-

customer's drop-off location at Shore Point Distributing located in Freehold, New Jersey.

         7.       I have reviewed the po1ice rep011 for the alleged. accident, which states that Mr.

Seiber was operating a 2013 International Harvester ProStar with vehicle-identification number

3HSDJSJRXDN302097, bearing Ohio License Plate No. PVU5923 ("the subject tractor") and

was pulling a Hyundai trailer bearing Maine Tag No. 2449176 ("the subject trailer").·

         8.       At the time of the alleged accident, the subject tractor was leased by our customer

Lewisburg Container, and PCL was using it pursuant to PCL's contractual relationship with

Lewisburg Container. At the time of the alleged      accident~   PCL and its parent corporation Pratt

Industries, Inc. ("Pratt") were leasing the sul;lject trailer from Wells Fargo Equipment Finance

Leasing. Inc.

         9.      Another one of PCL's customers is Pratt (Impress Manufacturing). Inc. ("PIM"),

located in Emmaus, Pennsylvania,

          10.    PCL and PIM are legally distinct and separate entities that share no ownership

intere.<J,ts with each other.
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          11.       Under PCL 's oontractual relationship with PIM> PCL provides PCL-empk>yed

drivers to transport products and materials to and from PIM's Emmaus facility.

         12.        PCL has never assigned Mr. Seiber to haul anything for PIM.

         13.        Mr. Seiber was not hauling anything for PIM at the time of the alleged accident,

and PIM did not ship the products that Mr. Seiber was hauling at the time of the alleged accident.

         14.        PIM was not a party to the leases for the subject tractor or the subject trailer; did

not own either piece of equipment; and had no right to operate or use either piece of equipment.

         15.
                                               .
                    Pursuant to 28 U.S. Code § 1746. I declare under penalty of perjury that the

foregoing is true and correct.



Dated:          l
         Io iw fto If                                   ~00
                                                          Tina OvefS.treet
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~ Rate Confirmation                                                                                                                        Send invoices to:
                                                                                                                                           PrivateFleetAp@coyote.com
                                                                                                                                                                                           877-6COYOTE
 ~Load 6340912                                                                                                                             960 Northpoint Parkway
                                                                                                                                           Suite 150                                      (877-626-9683)
         GOY OT I:
                                                                                                                                           Alpharetta, GA 30005

 custR~qUir~rp~ots· ·                                                                                Booked By                                                   e ,-.
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 ~CJ.U.il?.~~.n-~ ................Y.~".1.!.~~f~~!-~.I?.'............ Neil Sipress                                                                               ·Dispatch                 Available for An-
 pr~.~29.1~~.I'~.r:t:!P..... ~2~~--------·----········ .... .... neil.sipress@coyote.com                                                                        • Send updates            droid or iPhone,
.T~P.~... .                                                          Phooe: (773.) 365-6175 x6175                                                               • Check in                at App Store or
ya_l_':l~........................¥5P.·.9.~9......................... Fax: {773) 365-4175
                                                                                                                                                                • Submit paperwork         Google Play
 Attributes
O M   ··~~·
      ••••     ~·~x• ~~•M «   <   >.   ·~·   ·~·   h"'   >   >~<o- <~~M••H-' '4"·~   ~-·~   ~·-~~~




 Notes.·>·
All Van/Container loads MUST be sealed at origin either by shipper or driver with a seal number noted on bill of lading. In the
event a shipment that was sealed at origin arrives at the destination with a tampered seal or without the seal intact then (i) the
Carner shall be liable for any shortage or damage cta!ms with respect to such shipment and (ii) the Ghipper shall have ~ right,
in its sole discretion, to deem the entire shipment damaged, contaminated and unsalvageable, without the need for any
inspection and the Carrier shall be liable for the full v~l.\:f:~ <?tt!Je shipment.

 Monday




  Route;tDife&tion~·: ,
 Carrier acknowledges that any routing instructions from the shipper herein are being provided for convenience only, and the
 Carrier may choose the route except as otherwise set forth herein.
 Stopt~                 Pick.Up' .
       Step Nums A64Y                                                                                  '·--···-··-··-·   ............                            'i= aci!ity Notes
                                                                                                     Appointment Scheduied For
                                                                                                                                                                **2 load locks/straps required. Driver is
               Facility MillerCoors Trenton                                                          Fri 10/1612015-                                            responsible for se.euring lead before
                                                                                                     Mon 10/19/2015                                             departure
              Address 2647 Wayne Madison                                                                                                                        **Driver must have a valid official US
                                                                                                     at23:59
                                  Trenton, OH 45067                                                                                                             drivers license (no photo OOfJY)
                                                                                                     Driver VVof.<;                                             **Driver is responsible for applying
              Contact Jeffery Hopkins                                                                No Touch                                                   oolkhrJad before loading
                                                                                                                                                                *"Tandems: must bfit able to slide
                                                                                                                                                                -naiier must be empty, clean, dry with
                                                                                                                                                                no holes
                                                                                                                                                                -Detention times must be printed from
                                                                                                                                                                Miller at outgate

                                                                                                                                                                 -Trailer must be able to scale 45, 000 to
                                                                                                                                                                 haul this loa'tl
 Commodity                                                                                            Pack?gi;;g                             Lo3d   On         Weight                Piec;,s

 M1LLER64 30/12 CAN LS                                                                                Pallet                                                   2,045 lbs

 KEYSTONE ICE 30112 CAN LS                                                                            PaUet                                                    6,074 lbs             3
 KEYSTONE ICE 24/12 CAN 2112                                                                          Pallet                                                   4,343 lbs             2

 THIRD SHFT .AMB LAGER 24112 L.N NR 416 Pallet                                                                                                                 2.(166 lbs


                                                                                                                                        Page 1 of4


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                                                                                                                                                                                      /    )



                                                                                                                                                                                      '"                   .;
                 Case 5:17-cv-04863-EGS Document 1 Filed 10/27/17 Page 36 of 43




~ Rate Confirmation
 COYOTE
                                                                                                           Load 6340912
HIGH LIFE                                         Pallet                                             2,741 lbs           2
Bee;r                                             Pallet                                             9,706 !bi>          5

LITE 12140 NR LS                                  Pallet                                             6,970 lbs           3
HAMMS 30/12 CAN LS                                Paliet                                             9.40Zlbs            4

                                                                                         Total 43.347 lbs

 Directions are provided for coiivenience   orily. The Carrier may choose ihe 'route.
from Columbus, OH;
if you are coming from north, south, or east of Trenton:
1.j Take EXIT 29 at 1-75. Route 63 for about 5 miles.
2.} Route 4 south.
3.) Take a right onto Liberty Fairfield Rd. This become Wayne Madison Rd.
4.) The brewery is approx. 3 miles on the left.
513-896-9200 fo; dirx pre5S 7
 From Indianapolis, IN:
!f you arinvest of Trenton:
1.) Take EXIT 10 on 1-70, take Route 127 south to Route 73 east to Wayne Madison Rd.
2.) Tum right onto Wayne Madison Rd.
3.) The brewery is approx. 1 mile on the right.
513-896-9200 for dirx press 7
Ce trier$ may !i!lso a.II (514) 491-6305 for directions if ooadad.

sfoµ z:toenvefY :,7·-·· •·
  Stop Nums A64Y                                                                                      Facility Notes
                                                 Appointment Scheduled For
                                                                                                      Driver must: CALL Coyote & ask for
         Facility Shore Point Distributing       Tue 10/2012015                                       LIQUOR PERMIT as soon as loaded.
                                                 at 11:00                                             No detention or layovers due to delays
        Address 100 Shore Point Dr                                                                    caused by not requesting pem1it ahead
                Freehold, NJ 07728               Driver Work                                          of time will be approved.*Signed and
                                                 No Touch                                             printed papeJWoli< must be dropped
        Contact LOCATION CONTACT                                                                      within 46 hours for accessoria.ls
                                                                                                      -srgned and printed papelWOl'k must: tie
                                                                                                      dropped within 48 hou~ for accesS10rials

Commodity                                         Pa~aging                 L¥;,?'dQr";               Weight               Pfere;i

M1LLfRS4 30/12 CAN LS                             Pallet                                             2,045 lbs            1

KEYSTONE ICE 30112 CAN LS                         Pallet                                             6,074 lbs            3

KEYSTONE ICE 24112 CAN 2112                       Pallet                                             4,343 lb!.>          2

THIRD SHFT AMB LAGER 24/12 LN NR 4/6 Pallet                                                          2,066 lbs

HIGH LIFE                                         Pallet                                             2,741 lbs            2
Beer                                              Pallet                                             9,706 lbs            5

UTE 12/40 NR LS                                   Pallet                                             $,970111.s           3

HAMMS 30/12 CAN LS                                Pallet                                             9,4021bs             4

                                                                                         '70~.!!il   43,347 lbs

 Directions are provided fo-r corivenierice only. the Carrier may choose the route.
                                                                     Page2of4
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~ Rate Confirmation
 COYOTE
                                                                                                  Load 6340912
From Freehold, NJ:
(732) 308-3297
Carriers may also call (614) 491-6305 for directions if needed.
                        ·····-                         -   -   -····
chatg~s,         :F;> . .·.·                                                 Gc:inta'ct.·····.·
Description                         Units     Per                Amount      Send invoices to:            Please contact Coyote
Fuel Surcharge                      611.00    $0.210               $128.31   960 Northpoint Parkway       at 877-626-9683 if the
Flat Rate                           1.00      $1371.690          $1371.69    Suite 150                        charges are Incorrect.
                                                                             Alpharetta, GA 30006
T"atai------------------------·---------------------$1~s:oo~oo


Agreement; >.·.<
    Carrie~-
           Corrugated Logistics, LLC                                             Broker   Coyote Logistics, LLC
    Phone (937) 583-4989                                                           Rep    Neil Sipress
     Email rcultice@prattindustries.com                                            Title  Sales Rep
          Fax None                                                               Phone    {773) 365-6175 x6175
                                                                                      Fax {773) 3654175
                                                                                    Date 10115/2015
By signing below, Corrugated Logistics, LLC agrees to the terms and conditions set forth below and provided herewith, if any.




Name and Tttle (Print)




 Signature                                                                                             Date

                                 PLEASE SIGN THIS AGREEMENT AND FAX TO (773) 3654175
                                             Coyote Logistics, LLC is an Equal OppcrtUf1ity Employer




                                                                       Page 3 of4
                       Case 5:17-cv-04863-EGS Document 1 Filed 10/27/17 Page 38 of 43




~ Rate Confirmation
 CQYOT~
                                                                                                      Load 6340912
Terrns~antl \(j()fiditiohs Y.·
      '   I   <   ~'      •?   "


The Broker-Carrier Agreement between Coyote Logistics, LLC, a Licenced Property Broker - MC #561135-B, and Corrugated Logistics, LLC ls
amended by the verbal agreement between Neil Sipress of Coyote Logistics, LLC hereafter referred to as BROKER, and Robin Cultice of
Corrugated logistics. LLC hereafter referred to as CARRIER, dated 1011512015.

This confirmation is subject to the terms of the master Broker-carrier agreement and this document constitutes an amendment to the master
agreement. If the carrier has not signed a master agreement, then the rate shown above is the agreed individually negotiated rate and no
other rate shall apply including any carrier tariff rate or terms.

THIS LOAD SHALL NOT BE DOUBLE BROKERED. No additional charges not listed above may be added by the carrier. Any additional
charges must appear on a revised confirmation sheet signed by the broker. Carrier must include signed copy of the shipper's bill of lading and
any other proof of delivery with invoice to Broker. Rates, except as specifically designated above, are inclusive of any fuel surcharge. Carrier
certifies that any transport refrigeration unit will comply with the in-use requirements of California's TRU regulations. Carrier shall be
responsible for any fines imposed on Broker and/or shipper resulting from noncompliance.

CARRIER hereby confirms that it maintains applicable and valid insurance without exclusions that would prevent coverage for the items listed
above_ CARRIER has at least $100,000.00 in cargo insurance and $1,000,000.00 in automotive liability coverage. Carrier further confirms that
in transporting the shipment described hereinabove, it will comply with all U.S. DOT regulations applicable to its operations while transporting
said shipment, including, but not limlted to drivers' hours of service_ Carrier agrees to the attached requirements from the shipper, if any.
                                    ALL LOADS ARE SUBJECT TO ELECTRONIC MONITORING




                                                                  Page 4 of4
                                      Case 5:17-cv-04863-EGS Document 1 Filed 10/27/17 Page 39 of 43

THIS SHIPPING ORDER                                                                            MUST BE LEGIBLY FllLED IN, IN INK, IN INOELIBLI!
                                                                             PENCIL, OR IN CARBON;·AflbRE.7AINEO BYTtlE AGENT                                                                fl~lS-                                                                                                lf/i.
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                SHORE POINT OlSTRISUTING CO.,                                                                                                               SHIP TOSH ORE POINT DISTRIBUTING CO ..
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Case 5:17-cv-04863-EGS Document 1 Filed 10/27/17 Page 40 of 43




         JJQJQX~                             G
       Case 5:17-cv-04863-EGS Document 1 Filed 10/27/17 Page 41 of 43




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



RODGER KRAMER and COLLEEN                            CIVIL ACTION
BRUSIUS, h/w
      Plaintiffs,                                                                                     •
                                                                                                      i
                                                     Case No.~~~~~~~~                                 I
        v.

WAYNE SEIBER, PRATT                                  JURY TRIAL DEMANDED
                                                                                                      l
                                                                                                      n

INDUSTRIES, INC., CORRUGATED                                                                          i
LOGISTICS, LLC, IMPRESS                                                                               I
PACKAGING, INC., PRATT TRIAD
PACK.AGING, LLC, RM ESOP, INC.,
JOHN CHEESEMAN TRUCKING, INC.,
                                                                                                      I'
                                                                                                      ~
CHEESEMAN, LLC and ZUMSTEIN, INC.                                                                     !
                                                                                                      ~
      Defendants.


   DECLARATION OF GLORIA ARNDT ATTESTING TO NON~INVOLVEMENT OF
                                                                                                      I
                                                                                                      ~
               PRATT (IMPRESS MA.i~UFACTURING), INC.                                                  I
                                                                                                      f
        I, Gloria Arndt, declare that:

        I.

        2.
                I am the Assistant Controller for Pratt (Impress Manufacturing), Inc. ("PIM").

                I am responsible for invoicing and collections and performance of other
                                                                                                      '
                                                                                                      ~


                                                                                                      I
                                                                                                      l

                                                                                                      f
                                                                                                      I
 administrative tasks at Impress.

        3.      For the past several years and at all relevant times, PIM has had a single place of
                                                                                                      I
 business located at 726 Broad Street, Emmaus, Pennsylvania 18049.

        4.      I am aware of the lawsuit filed by Plaintiffs Rodger Kramer and Colleen Brusius
                                                                                                      I
 ("this Lawsuit") in which they allege that Mr. Kramer was injured in a motor-vehicle accident
                                                                                                      I
 ("the alleged accident") near mile-marker 252.9 on Eastbound 1-76 inLondonbe1Ty Township,
                                                                                                      I
                                                                                                      i
                                                                                                      f
                                                                                                      l
                                                                                                      l!
                                                                                                      I
                                                                                                      I
      Case 5:17-cv-04863-EGS Document 1 Filed 10/27/17 Page 42 of 43


                                                                                                    I
                                                                                                    II
Dauphin County, PA. on October 19, 2015, when a tractor-trailer operated by Defendant Wayne

Seiber allegedfy collided with the tractor-trailer that Mr. Kramer was operating.

         5.    At all relevant times. PIM was/is a corporation incorporated in the
                                                                                                    I
                                                                                                    i
Commonwealth of Pennsylvania.

         6.    At all relevant times. PIM was/is in the business of manufacturing corrugated
                                                                                                    I
boxes.
                                                                                                    l
         7.    PIM neither employed Mr. Seiber nor contracted with him for any services. In

fact, PIM had never heard of Mr. Seiber before this Lawsuit.
                                                                                                    I
                                                                                                    1
         8.    I understand that Mr. Seiber worked for Pratt (Corrugated Logistics). LLC

("PCL") at the time of the alleged accident. PIM and PCL are legally distinct and separate
                                                                                                    '
                                                                                                    J
                                                                                                    ~



entities that share no ownership interests with each other.
                                                                                                    I
                                                                                                    I
         9.    For the past several years (including 2015) PIM has had a contractual relationship

with PCL in which PCL assigns its employed ddvers to PIM's location to transport products and
                                                                                                    I
                                                                                                    i
                                                                                                    Ia
materials to and from PIM's facility. Mr. Seiber has never been assigned to PIM's location, and

PIM has never worked with a driver named Wayne Seiber.

         10.   Mr. Seiber was not hauling anything for PIM at the time of the alleged accident.
                                                                                                    I
                                                                                                    ~
         1L    PIM did not own or lease the tractor or trailer operated by Wayne Seiber at the      i
                                                                                                    ~
                                                                                                    ~
time of the alleged accident.                                                                       t

         12.   PIM was not shipping or receiving the products that Wayne Seiber was hauling at      !
                                                                                                    Ig
the time of the alleged accident.

         13.   PIM had no involvement whatsoever in the trip being made by Wayne Seiber
                                                                                                    I
                                                                                                    "
      Case 5:17-cv-04863-EGS Document 1 Filed 10/27/17 Page 43 of 43




at the time of the alleged accident.

        14.     Pursuant to 28 U.S. Code§ 1746, I declare under penalty of perjury that the

foregoing is true and correct.



Dated: 0   0:- d-.-1'\ 00\'i\                        ~~<k~
                                                     Gloria Arndt




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